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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION


 CARLOS CORDOBO-RODRIGUEZ,

        Petitioner,

v.                                                      CASE NO: 8:13-CV-23-T-30EAJ
                                                          Crim. Case No: 8:09-CR-223-T-30EAJ
 UNITED STATES OF AMERICA,

        Respondent.
                                          /


                                         ORDER

        THIS CAUSE comes before the Court upon Petitioner’s Motion to Vacate, Set

 Aside, or Correct Sentence Pursuant to 28 U.S.C. § 2255 (“Petition”) (CV Dkt. #1) and

 Memorandum in support (CV Dkt. #2) filed on January 2, 2013. The Government

 responded in opposition (CV Dkt. #7) on April 10, 2013. There are two deficiencies in

 the Petition: (1) the case on which Petitioner relies, U.S. v. Bellaizac-Hurtado, 700

 F.3d 1245 (2012), is inapplicable to the instant case; and (2) the Petition is outside the

 one-year filing limitation period, and therefore time-barred pursuant to § 2255(f)(1).

                                     BACKGROUND

       Petitioner claims that he is actually innocent, and that the Court lacked jurisdiction

to hear his case. Petitioner also claims he had ineffective assistance of counsel for failing

to raise the jurisdictional issue.




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       Petitioner executed a plea agreement on September 23, 2009, and pled guilty to:

(1) while being on “a vessel subject to the jurisdiction of the United States, conspir[ing]

to operate and embark by any means in a semi submersible vessel without nationality and

with the intent to evade detection into, through, or from waters beyond the outer limit of

that country’s territorial sea with an adjacent country,”1; and (2) “conspiracy to possess

with intent to distribute five (5) or more kilograms of cocaine and one thousand (1000)

kilograms or more of marijuana, while on board a vessel subject to the jurisdiction of the

United States.”2 The Court sentenced Petitioner to 135 months incarceration, which was

later amended to 87 months.

                                          DISCUSSION

       Petitioner contends he is actually innocent because this Court lacked jurisdiction

over him. For support he relies on the Bellaizac-Hurtado case. 700 F.3d at 1245-62. This

Court will address first jurisdiction and the application of Bellaizac-Hurtado case, then

the pertinent issue of timeliness.



1 Both (1) & (2) make up count one that is a violation of 18 U.S.C. §§ 2285(a) and (b). “Whoever

knowingly operates, or attempts or conspires to operate, by any means, or embarks in any . . .
semi-submersible vessel that is without nationality and that is navigating or has navigated into,
through, or from waters beyond the outer limit of the territorial sea of a single country or a lateral
limit of that country’s territorial sea and with an adjacent country, with intent to evade detection,
shall be fined . . . , imprisoned not more than 15 years or both.” 18 U.S.C. § 2285(a). And,
“configuration of the vessel to ride low in the water or present a low hull profile to avoid being
detected visually or by radar.” 46 U.S.C. § 70507(1)(A).
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  This makes up count three that is a violation of 46 U.S.C. §§ 70503(a)(1), “[a]n individual may
not knowingly or intentionally manufacture or distribute, or possess with intent to manufacture
or distribute, a controlled substance on board . . . a vessel subject to the jurisdiction of the United
States;
70506(a), punishment according to the Abuse Prevention and Control Act of 1970,; 70506(b),;
and 21 U.S.C. § 960(b)(1)(B)(ii).


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           U.S. v. Bellaizac-Hurtado and Ineffectiveness Assistance of Counsel

       Petitioner claims “Congress was never given the power to gran[t] the Justice

Department power to prosecute drug offenses committed in other countries[’] territorial

water.” It is true that this is the holding of U.S. v. Bellaizac-Hurtado, 700 F.3d at 1245,

which is applicable to persons apprehended in territorial waters of foreign countries. But,

this case does not apply to Petitioner because he was apprehended in international waters.

       In U.S. v. Bellaizac-Hurtado, the 11th Circuit held that the Offenses Clause of the

Maritime Drug Law Enforcement Act (MDLEA) was unconstitutional in its application

because drug trafficking is not a violation of customary international law. 700 F.3d at

1258. In that case, defendants were found and captured in Panamanian territorial, not

international, waters. Thus, United States did not have jurisdiction.

       The instant case is distinguishable from U.S. v. Bellaizac-Hurtado because

Petitioner was on board a vessel in international waters when taken into custody. (CR

Dkt. #62). In his Petition, Petitioner states he “was arrested on board a vessel on Costa

Rican territorial waters and not in the jurisdiction of the United States.” (CV Dkt. #1).

But, this is contrary to Petitioner’s own admissions in his plea agreement: “[o]n May 6,

2009, US marine patrol aircraft (MPA) sighted an [self-propelled semi-submersible]

approximately one hundred nautical miles off the coast Costa Rica, in international

waters.” (CR Dkt. #62) (emphasis added). Moreover, Petitioner agreed that he was a

“knowing and willing participant[] in a maritime drug smuggling venture in the

international waters.” (CR Dkt. #62) (emphasis added).




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       Petitioner’s claims lack merit because “[t]he United States generally recognizes

the territorial seas of foreign nations up to twelve nautical miles adjacent to recognized

foreign coasts.” U.S. v. McPhee, 336 F.3d 1269, 1273 (2003). Petitioner was clearly

outside Costa Rican territorial waters. He will not now be heard to refute his admissions

to the Court.

       Petitioner further claims Bellaizac-Hurtado overturned U.S. v. Tinoco, 304 F.3d

1088 (2002), which held the MDLEA constitutional as to persons apprehended in

international waters. Petitioner is mistaken. In Bellaizac-Hurtado, the 11th          Circuit

expressly states they “have always upheld extraterritorial convictions under our drug

trafficking laws as an exercise of power under the Felonies Clause.” 700 F.3d at 1257.

Thus, it is clear that Bellaizac-Hurtado did not overturn Tinoco.

       Lastly, Petitioner claims that he received deficient legal assistance because his

lawyer did not argue that the MDLEA was unconstitutional and that the Court lacked

jurisdiction. However, as explained, these claims are without merit. Therefore, the

Petitioner’s ineffective assistance of counsel claim is without merit. It is not ineffective

assistance to fail to make meritless arguments.

                             Time Bar and Actual Innocence

       This case is barred by the one-year limitation. Under 28 U.S.C. § 2255(f)(1), “[a]

1-year period of limitation shall apply to a [2255] motion . . . . The limitation period shall

run from . . . the date on which the judgment of conviction becomes final.” Petitioner’s

conviction was entered on December 21, 2009. (CR Dkt. #96). Petitioner had ten days

from the judgment, until December 31, 2009, to appeal. Petitioner did not appeal, and


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therefore the one-year limitation period began to run December 31, 2009, and expired

December 31, 2010. The amended sentence does not reset the one-year limitation period.

Murphy v. U.S., 634 F.3d 1303 (11th Cir. 2011). Consequently, this Petition is time-

barred because it was filed on January 2, 2013, over two years past the limitation

expiration. Therefore, the Petition must be dismissed unless Petitioner can show

entitlement to equitable tolling or that he is factually innocent.

       A § 2255 petition’s one-year limitation period “may be equitably tolled.” Sandvik

v. U.S., 177 F.3d 1269, 1271 (11th Cir. 1999) (per curiam). Equitable tolling “‘is

appropriate when a movant untimely files because of extraordinary circumstances that are

both beyond his control and unavoidable even with diligence.’” Jones v. U.S., 304 F.3d

1035 (11th Cir. 2002) (quoting Sandvik, 177 F.3d at 1271). For instance, a showing of

new evidence that disproves Petitioner’s charges could be germane to allow equitable

tolling. Jones, 304 F.3d at 1041. This remedy is permitted only in rare occasions. Id. at

1038. Petitioner does not claim equitable tolling, thus this is not an issue.

       Instead of equitable tolling, Petitioner claims he is actually innocent of his

charges. “Actual innocence means factual innocence, not mere legal insufficiency.”

Bousley v. U.S., 523 U.S. 614 (1998). Here, Petitioner does not claim that he did not

commit the crime, only that this Court did not have jurisdiction over the crime

committed. Thus, Petitioner does not meet this burden and the Petition is time-barred.




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                                     CONCLUSION

        It is therefore ORDERED AND ADJUDGED that:

        1.     1.    Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence (CV

 Dkt. #1) is DENIED.

        2.     The Clerk is to enter judgment for Respondent, United States of

 America, terminate any pending motions, and close this case.

        3.     The Clerk is directed to terminate from pending status the motion to

 vacate found at Dkt.#133, in the underlying criminal case, case number 8:09-cr-223-T-

 30EAJ.

              CERTIFICATE OF APPEALABILITY AND LEAVE TO
                   APPEAL IN FORMA PAUPERIS DENIED

       IT IS FURTHER ORDERED that Petitioner is not entitled to a certificate of

appealability. A prisoner seeking a writ of habeas corpus has no absolute entitlement to

appeal a district court's denial of his petition. 28 U.S.C. § 2253(c)(1). Rather, a district

court must first issue a certificate of appealability (COA). Id. "A [COA] may issue...only

if the applicant has made a substantial showing of the denial of a constitutional right." Id.

at § 2253(c)(2). To make such a showing, Petitioner "must demonstrate that reasonable

jurists would find the district court's assessment of the constitutional claims debatable or

wrong," Tennard v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529

U.S. 473, 484, (2000)), or that "the issues presented were 'adequate to deserve

encouragement to proceed further.'" Miller-El v. Cockrell, 537 U.S. 322, 335-36 (2003)



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(quoting Barefoot v. Estelle, 463 U.S. 880, 893 n. 4 (1983)). Petitioner has not made the

requisite showing in these circumstances.

         Finally, because Petitioner is not entitled to a certificate of appealability, he is not

entitled to appeal in forma pauperis.

         DONE AND ORDERED at Tampa, Florida on this 19th day of July, 2013.




Copies furnished to:
Counsel/Parties of Record
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